87 F.3d 1310
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Samuel WHALEY;  William Black;  Robert Chadwick;  IvanTurner;  Robert Repovich, Plaintiffs-Appellants,v.Earl BESHEARS, Warden;  Bishop Robinson, Defendants-Appellees.
    No. 96-6131.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 16, 1996.Decided June 5, 1996.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.   Frederic N. Smalkin, District Judge.  (CA-95-3965-S).
      Samuel Whaley, William Black, Robert Chadwick, Ivan Turner, Robert Repovich, Appellants Pro Se.
      D.Md.
      AFFIRMED.
      Before RUSSELL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellants appeal from the district court's order denying relief on their 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Whaley v. Beshears, No. CA-95-3965-S (D.Md. Jan. 4, 1996).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    